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                     8 Luke Hasskamp, and Luis Blanquez
                     9                           UNITED STATES DISTRICT COURT
                    10                      SOUTHERN DISTRICT OF CALIFORNIA
                    11
                    12 BRIAN P. MANOOKIAN,                         Case No. 21CV0562 WQH BLM
                    13              Plaintiff,                     NOTICE OF MOTION AND
                                                                   MOTION FOR JUDICIAL NOTICE
                    14        vs.                                  IN SUPPORT OF DEFENDANTS’
                                                                   MOTION TO DISMISS OF
                    15 BONA LAW P.C., JAROD BONA,                  TENNESSEE BOARD OF
                       DAVID CODELL, AARON GOTT,                   PROFESSIONAL
                    16 LUKE HAASKAMP, AND LUIZ                     RESPONSIBILITY REPORT AND
                       BLANQUEZ;                                   RECOMMENDATION
                    17
                                          Defendants.              FED RULES CIV. P. R. 12(b)(6)
                    18
                                                                   Date: Sept 27, 2021
                    19                                             Hon. Judge William Q. Hayes
                    20                                             “NO ORAL ARGUMENT UNLESS
                                                                   REQUESTED BY THE COURT”
                    21
                    22        TO THE HONORABLE COURT, PLAINTIFF HEREIN, AND HIS
                    23 RESPECTIVE COUNSEL OF RECORD:
                    24        PLEASE TAKE NOTICE that pursuant to Fed. R. Evid. 201, Defendants
                    25 BONA LAW P.C., JAROD BONA, DAVID CODELL, AARON GOTT, LUKE
                    26 HASSKAMP, AND LUIS BLANQUEZ request that the Court take judicial notice
                    27 of the document concurrently filed by mail under seal as Exhibit 18, in support of

LEWIS               28 their Motion to Dismiss, which has a September 27, 2021 hearing date.
BRISBOIS
BISGAARD
                       4840-5385-0361.1                         1                Case No. 21CV0562 WQH BLM
& SMITH LLP                         NOTICE OF MOTION AND MOTION FOR JUDICIAL NOTICE OF REPORT OF
ATTORNEYS AT LAW
                                          TENNESSEE BOARD OF PROFESSIONAL RESPONSIBILITY
                   Case 3:21-cv-00562-WQH-BLM Document 14 Filed 09/10/21 PageID.333 Page 2 of 4




                     1 I.         MOTION FOR JUDICIAL NOTICE
                     2 A.         Relevant Background
                     3            On March 30, 2021, Plaintiff Brian Manookian filed a complaint in this Court
                     4 alleging that Defendants committed legal malpractice and breach of fiduciary duty
                     5 with respect to an underlying lawsuit that Plaintiff brought in the Middle District of
                     6 Tennessee against members of the Tennessee Board of Professional Responsibility in
                     7 their individual and official capacities. The underlying litigation arose from Plaintiff
                     8 having been suspended from the practice of law. On June 14, 2021, Defendants moved
                     9 to dismiss Plaintiff’s complaint, contending: (1) Defendants did not violate the
                    10 standard of care, as a matter of law, under the judgmental immunity doctrine; (2)
                    11 Defendants’ conduct did not cause Plaintiff damages because Plaintiff did not suffer
                    12 a compensable antitrust injury; (3) Plaintiff was suspended for reasons distinct and
                    13 unrelated to any allegedly anticompetitive behavior; and (4) Plaintiff cannot state a
                    14 claim for breach of fiduciary duty.
                    15            Defendants’ motion relies in part on the reports and recommendations of the
                    16 Tennessee Board of Professional Responsibility. Defendants attached those reports
                    17 and recommendations to their original request for judicial notice (filed concurrently
                    18 with their moving papers) as Exhibits 1 through 17.
                    19            Defendants now inform the Court that on August 25, 2021, the Tennessee
                    20 Board of Professional Responsibility issued a report and recommendation
                    21 recommending that Plaintiff be permanently disbarred from the practice of law in
                    22 Tennessee after a full evidentiary hearing. That report and recommendation bolsters
                    23 Defendants’ motion to dismiss.
                    24 B.         Judicial Notice of the August 25th Report and Recommendation of the
                    25            Tennessee Board of Professional Responsibility Is Proper
                    26            Defendants respectfully request that this Court take judicial notice of the most
                    27 recent report and recommendation of the Tennessee Board of Professional

LEWIS               28 Responsibility, filed on August 25, 2021, in docket number 2017-2805-5-WM, which
BRISBOIS
BISGAARD
                         4840-5385-0361.1                                2                  Case No. 21CV0562 WQH BLM
& SMITH LLP                                 NOTICE OF MOTION AND MOTION FOR JUDICIAL NOTICE OF REPORT OF
ATTORNEYS AT LAW
                                                  TENNESSEE BOARD OF PROFESSIONAL RESPONSIBILITY
                   Case 3:21-cv-00562-WQH-BLM Document 14 Filed 09/10/21 PageID.334 Page 3 of 4




                     1 is attached to this request as Exhibit 18 and is submitted in support of Defendants’
                     2 motion to dismiss (“the August 25 report”).
                     3            Filings within public agencies, letter decisions of government and
                     4 administrative bodies, and other public records are all proper subjects for judicial
                     5 notice. See Khoja v. Orexigen Therapeutics, Inc., 899 F.3d 988, 1001 (9th Cir. 2018).
                     6 Such filings include “state bar records reflecting disciplinary proceedings.” White v.
                     7 Martel, 601 F.3d 882, 885 (9th Cir. 2010). So long as there is no reasonable question
                     8 about their authenticity, this Court may consider the contents of public documents of
                     9 this nature in determining whether Plaintiff states a valid claim for relief. See, e,g,
                    10 Daniels-Hall v. Nat’l Educ. Ass’n, 629 F.3d 992, 998-99 (9th Cir. 2010); Baca v.
                    11 Colo. Dep't of State, 935 F.3d 887, 903 n.2 (10th Cir. 2019); Bailey v. City of Ann
                    12 Arbor, 860 F.3d 382, 386 (6th Cir. 2017); Tellabs, Inc. v. Makor Issues & Rights, Ltd.,
                    13 551 U.S. 308, 322 (2007).
                    14            The August 25 report is relevant to Defendants’ motion to dismiss, including
                    15 without limitation their arguments about causation, antitrust injury, and damages. See
                    16 Dkt. 6-1 at 24-28
                    17 II.        CONCLUSION
                    18            For these reasons, the Court should grant this motion for judicial notice and
                    19 take judicial notice of the Tennessee Board of Professional Responsibility’s August
                    20 25 report recommending that Plaintiff Brian P. Manookian be permanently disbarred
                    21 in the State of Tennessee.
                    22 DATED: September 10, 2021                    LEWIS BRISBOIS BISGAARD & SMITH LLP
                    23
                                                                    By:         /s/ Brian Slome
                    24                                                    Brian Slome
                    25                                                    Kenneth C. Feldman
                                                                          Attorneys for Defendants, Bona Law P.C.,
                    26                                                    Jarod Bona, David Codell, Aaron Gott,
                    27                                                    Luke Hasskamp, And Luis Blanquez

LEWIS               28
BRISBOIS
BISGAARD
                         4840-5385-0361.1                                 3                 Case No. 21CV0562 WQH BLM
& SMITH LLP                                 NOTICE OF MOTION AND MOTION FOR JUDICIAL NOTICE OF REPORT OF
ATTORNEYS AT LAW
                                                  TENNESSEE BOARD OF PROFESSIONAL RESPONSIBILITY
                   Case 3:21-cv-00562-WQH-BLM Document 14 Filed 09/10/21 PageID.335 Page 4 of 4




                     1                         CERTIFICATION OF ELECTRONIC SERVICE
                     2                                  Manookian v. Bona Law, et al.
                                             USDC, Southern District Case No. 21CV0562 WQH BLM
                     3 STATE OF CALIFORNIA, COUNTY OF SAN DIEGO
                     4       At the time of service, I was over 18 years of age and not a party to the action.
                       My  business address is 550 West C Street, Suite 1700, San Diego, CA 92101. I am
                     5 employed in the  office of a member of the bar of this Court at whose direction the
                     6 service was made.

                     7 MOTION  On September 10, 2021, I served the following document(s): NOTICE OF
                                   AND MOTION FOR JUDICIAL NOTICE OF REPORT OF
                     8 TENNESSEE       BOARD OF PROFESSIONAL RESPONSIBILITY.
                             I served the documents on the following persons at the following addresses
                     9 (including fax numbers and e-mail addresses, if applicable):
                    10
                    11 Frank J. Johnson, Esq.                      John Spragens, Esq.
                        FrankJ@johnsonfistel.com                   john@spragenslaw.com
                    12 Kristen O’Connor, Esq.                      SPRAGENS LAW PLC
                    13 KristenO@johnsonfistel.com                  311 22nd Ave. No.
                        JOHNSON FISTEL, LLP                        Nashville, TN 37203
                    14 655 West Broadway, Suite 1400               Telephone: (615) 983-8900
                    15 San Diego, CA 92101                         Facsimile: (615) 682-8533
                        Telephone: (619) 230-0063                  Counsel for Plaintiff
                    16 Facsimile: (619) 255-1856
                                                                   (Pro Hac Forthcoming)
                    17 Counsel for Plaintiff
                    18
                    19
                                  The documents were served by the following means:
                    20
                                 (BY COURT’S CM/ECF SYSTEM) Pursuant to Local Rule, I electronically
                    21            filed the documents with the Clerk of the Court using the CM/ECF system,
                                  which sent notification of that filing to the persons listed above.
                    22
                            I declare under penalty of perjury under the laws of the United States of
                    23 America and the State of California that the foregoing is true and correct.
                    24            Executed on September 10, 2021 at San Diego, California.
                    25
                    26
                    27                                                     Jeff de Gruchy

LEWIS               28
BRISBOIS
                         4840-5385-0361.1                                4                  Case No. 21CV0562 WQH BLM
BISGAARD                                    NOTICE OF MOTION AND MOTION FOR JUDICIAL NOTICE OF REPORT OF
& SMITH LLP                                       TENNESSEE BOARD OF PROFESSIONAL RESPONSIBILITY
ATTORNEYS AT LAW
